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            USCA11 Case: 22-12791 Date Filed: 08/24/2022 Page: 1 of 2


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                               UNITED STATES COURT OF APPEALS
                                  FOR THE ELEVENTH CIRCUIT                                        Aug 25, 2022
                                  ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                56 Forsyth Street, N.W.
                                                                                                                  Miami

                                                Atlanta, Georgia 30303

  David J. Smith                                                                          For rules and forms visit
  Clerk of Court                                                                          www.ca11.uscourts.gov


                                              August 25, 2022

  Michael S. Barth
  PO BOX 832
  FAR HILLS, NJ 07931

  Appeal Number: 22-12791-J
  Case Style: USA v. Michael Barth
  District Court Docket No: 9:22-mj-08332-BER-1

  Please use the appeal number for all filings in this court.

  Electronic Filing
  All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
  unless exempted for good cause. Although not required, non-incarcerated pro se parties are
  permitted to use the ECF system by registering for an account at www.pacer.gov. Information
  and training materials related to electronic filing are available on the Court's website.

  Briefing
  Pursuant to 11th Cir. R. 31-1, the appellant's brief is due on or before October 3, 2022. The
  appendix is due 7 days after the appellant's brief is filed. An incarcerated pro se party is not
  required to file an appendix.

  The appellee's brief is due within 30 days after the service of the last appellant's brief. The
  appellant's reply brief, if any, is due within 21 days after the service of the last appellee's brief.
  This is the only notice you will receive regarding the due date for briefs and appendices.

  Please see FRAP 32(a) and the corresponding circuit rules for information on the form of briefs
  and FRAP 32(b) and 11th Cir. Rules 30-1 and 30-2 for information on the form of appendices.

  (In cross-appeals pursuant to Fed.R.App.P. 28.1(b), the party who first files a notice of appeal is
  the appellant unless the parties otherwise agree.)

  Certificate of Interested Persons and Corporate Disclosure Statement ("CIP")
  Every motion, petition, brief, answer, response, and reply must contain a CIP. See FRAP 26.1;
  11th Cir. R. 26.1-1. In addition:

        •    Appellants/Petitioners must file a CIP within 14 days after this letter's date.
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     •   Appellees/Respondents/Intervenors/Other Parties must file a CIP within 28 days after
         this letter's date, regardless of whether Appellants/Petitioners have filed a CIP.
     •   Only parties represented by counsel must complete the web-based CIP. Counsel must
         complete the web-based CIP, through the Web-Based CIP link on the Court's website,
         on the same day the CIP is first filed.

  The failure to comply with 11th Cir. Rules 26.1-1 through 26.1-4 may result in dismissal of the
  case or appeal under 11th Cir. R. 42-1(b), no action taken on deficient documents, or other
  sanctions on counsel, the party, or both. See 11th Cir. R. 26.1-5(c).

  Mediation
  If a Civil Appeal Statement is required to be filed, your appeal and all related matters will be
  considered for mediation by the Kinnard Mediation Center. The mediation services are free, and
  the mediation process is confidential. You may confidentially request mediation by calling the
  Kinnard Mediation Center at 404-335-6260 (Atlanta) or 305-714-1900 (Miami). See 11th Cir.
  R. 33-1.

  Attorney Admissions
  Attorneys who wish to participate in this appeal must be properly admitted either to the bar of
  this court or for this particular proceeding, See 11th Cir. R. 46-1; 46-3; 46-4. In addition, all
  attorneys (except court-appointed attorneys) who wish to participate in this appeal must file an
  appearance form within fourteen (14) days after this letter's date. The Application for
  Admission to the Bar and Appearance of Counsel Form are available on the Court's website.
  The clerk generally may not process filings from an attorney until that attorney files an
  appearance form. See 11th Cir. R. 46-6(b).

  Attorneys must file briefs electronically using the ECF system. Use of ECF does not modify the
  requirements of the circuit rules that counsel must also provide four (4) paper copies of a brief
  to the court, nor does it modify the requirements of the circuit rules for the filing of appendices
  in a particular case.

  Obligation to Notify Court of Change of Addresses
  Each pro se party and attorney has a continuing obligation to notify this court of any changes to
  the party's or attorney's addresses during the pendency of the case in which the party or attorney
  is participating. See 11th Cir. R. 25-7.

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Davina C Burney-Smith, J/sj
  Phone #: (404) 335-6183

                                                                    DKT-7CIV Civil Early Briefing
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                              UNITED STATES DISTRICT COURT
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                               W EST PM M BEACJIDIVISION
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    UNITED STATES OF AW RICA,
                                                                  FILED BY c.gl&             D .C .
          Plaintiff,
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    SEM T D SEARCH W ARRANT,
                                     NOTICE 0F APPEAL

          Please takeN OTICE thatthe lmdersigned only,pro se,appealsto theUnited StatesCourt

    ofAppealsfortheEleventh Circuit,the following;

          OrderOvelrulingObjectionstoMagistrateJudgeOrderonlntervention(DocketEntry
          78)
       2. AppealwithoutanOrderonM otionforM agistrateJudgeRelnhartRecusal(DocketEntry
          70-1.)
                                      3. CertiscateofService
          1HEREBY CERTIFY thaton August20,2022,thisdocum entwmstransm itted to the

       Clerk'sOY ce using USPS Expressm ailE1192 997 675 US;and asresult,any necessary

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                                                           917-628-6145
